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STATE OF FLORIDA

OFFICE OF THE GOVERNOR
EXECUTIVE ORDER NUMBER 18-276

(Emergency Management — Tropical Storm Michael)

WHEREAS, as of 1:00 p.m. on Sunday, October 7, 2018, Tropical Storm Michael has
formed 90 miles south of Cozumel, Mexico, with current maximum sustained winds of 40 miles
per hour and movement toward the north; and

WHEREAS, the National Hurricane Center forecasts that Tropical Storm Michael will
increase in intensity and forward speed as it moves across the eastern Gulf of Mexico late Monday
through Wednesday morning, and may become a hurricane by Tuesday night or Wednesday before
making landfall on the Gulf Coast; and

WHEREAS, there is an increasing risk of dangerous storm surge, rainfall, strong winds,
hazardous seas, and the potential for isolated tornadic activity for portions of Florida’s northern
Gulf Coast by mid-week; and

WHEREAS, Tropical Storm Michael poses a severe threat to the State of Florida and
requires that timely precautions are taken to protect the communities, critical infrastructure, and
general welfare of this State;

WHEREAS, the threat posed by Tropical Storm Michael requires that timely precautions
are taken to protect the communities, critical infrastructure, and the general welfare; and

WHEREAS, as Governor, I am responsible to meet the.dangers presented to this state and
its people by this emergency; and,

NOW, THEREFORE, I, RICK SCOTT, as Governor of Florida, by virtue of the
authority vested in me by Article IV, Section 1(a) of the Florida Constitution and by the Florida
Emergency Management Act, as amended, and all other applicable laws, promulgate the following

Executive Order, to take immediate effect:
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Section 1. Because of the foregoing conditions, I declare that a state of emergency exists
in the following counties: Escambia, Santa Rosa, Okaloosa, Walton, Holmes, Washington, Bay,
Jackson, Calhoun, Gulf, Gadsden, Liberty, Franklin, Leon, Wakulla, Jefferson, Madison, Taylor,
Hamilton, Suwannee, Lafayette, Dixie, Columbia, Gilchrist, Levy, and Citrus.

Section 2. I designate the Director of the Division of Emergency Management
(“Director”) as the State Coordinating Officer for the duration of this emergency and direct him to
execute the State’s Comprehensive Emergency Management Plan and other response, recovery,
and mitigation plans necessary to cope with the emergency. Pursuant to section 252.36(1)(a),
Florida Statutes, I delegate to the State Coordinating Officer the authority to exercise those powers
delineated in sections 252.36(5)-(10), Florida Statutes, which he shall exercise as needed to meet
this emergency, subject to the limitations of section 252.33, Florida Statutes. In exercising the
powers delegated by this Order, the State Coordinating Officer shall confer with the Governor to
the fullest extent practicable. The State Coordinating Officer shall also have the authority to:

A. Invoke and administer the Emergency Management Assistance Compact
(“EMAC”) (sections 252.921-252.9335, Florida Statutes) and other compacts and agreements
existing between the State of Florida and other states, and the further authority to coordinate the
allocation of resources from such other states that are made available to Florida under such
compacts and agreements so as best to meet this emergency.

B. Seek direct assistance and enter into agreements with any and all agencies of
the United States Government as may be needed to meet the emergency.

C. Direct all state, regional and local governmental agencies, including law
enforcement agencies, to identify personnel needed from those agencies to assist in meeting the

response, recovery, and mitigation needs created by this emergency, and to place all such personnel
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under the direct command and coordination of the State Coordinating Officer to meet this
emergency.

D. Designate additional Deputy State Coordinating Officers, as necessary.

E. Suspend the effect of any statute, rule, or order that would in any way prevent,
hinder, or delay any mitigation, response, or recovery action necessary to cope with this
emergency.

F. Enter orders as may be needed to implement any of the foregoing powers;
however, the requirements of sections 252.46 and 120.54(4), Florida Statutes, do not apply to any
such orders issued by the State Coordinating Officer; however, no such order shall remain in effect
beyond the expiration of this Executive Order, to include any extension.

Section 3. I order the Adjutant General to activate the Florida National Guard, as needed,
to deal with this emergency.

Section 4. I find that the special duties and responsibilities resting upon some State,
regional, and local agencies and other governmental bodies in responding to the emergency may
require them to suspend the application of the statutes, rules, ordinances, and orders they
administer. Therefore, I issue the following authorizations:

A. Pursuant to section 252.36(1)(a), Florida Statutes, the Executive Office of the
Governor may suspend all statutes and rules affecting budgeting to the extent necessary to provide
budget authority for state agencies to cope with this emergency. The requirements of sections
252.46 and 120.54(4), Florida Statutes, do not apply to any such suspension issued by the
Executive Office of the Governor; however, no such suspension shall remain in effect beyond the
expiration of this Executive Order, to include any extension.

B. Each State agency may suspend the provisions of any regulatory statute

prescribing the procedures for conduct of state business or the orders or rules of that agency, if
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strict compliance with the provisions of any such statute, order, or rule would in any way prevent,
hinder, or delay necessary action in coping with the emergency. This includes, but is not limited
to, the authority to suspend any and all statutes, rules, ordinances, or orders which affect leasing,
printing, purchasing, travel, and the condition of employment and the compensation of employees.
For the purposes of this Executive Order, “necessary action in coping with the emergency” means
any emergency mitigation, response, or recovery action: (1) prescribed in the State Comprehensive
Emergency Management Plan (““CEMP”); or, (2) ordered by the State Coordinating Officer. The
requirements of sections 252.46 and 120.54(4), Florida Statutes, shall not apply to any such
suspension issued by a State agency; however, no such suspension shall remain in effect beyond
the expiration of this Executive Order, to include any extensions of this Order.

C. In accordance with section 252.38, Florida Statutes, each political subdivision
within the State of Florida may waive the procedures and formalities otherwise required of the
political subdivision by law pertaining to:

1) Performance of public work and taking whatever prudent action is
necessary to ensure the health, safety, and welfare of the community;

2) Entering into contracts;

3) Incurring obligations;

4) Employment of permanent and temporary workers;

5) Utilization of volunteer workers;

6) Rental of equipment;

7) Acquisition and distribution, with or without compensation, of supplies,
materials, and facilities; and,

8) Appropriation and expenditure of public funds.
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D. All agencies whose employees are certified by. the American Red Cross as
disaster service volunteers within the meaning of Section 110.120(3), Florida Statutes, may release
any such employees for such service as requested by the Red Cross to meet this emergency.

E. The Secretary of the Florida Department of Transportation (DOT) may:

1) Waive the collection of tolls and other fees and charges for the use of the
Turnpike and other public highways, to the extent such waiver may be needed to provide
emergency assistance or facilitate the evacuation of the affected counties;

2) Reverse the flow of traffic or close any and all roads, highways, and portions
of highways as may be needed for the safe and efficient transportation of evacuees to those counties
that the State Coordinating Officer may designate as destination counties for evacuees in this
emergency;

3) Suspend enforcement of the registration requirements pursuant to sections
316.545(4) and 320.0715, Florida Statutes, for commercial motor vehicles that enter Florida to
provide emergency services or supplies, to transport emergency equipment, supplies or personnel,
or to transport FEMA mobile homes or office style mobile homes into or from Florida;

4) Waive the hours of service requirements for such vehicles;

5) Waive by special permit the warning signal requirements in the Utility
Accommodations Manual to accommodate public utility companies from other jurisdictions which
render assistance in restoring vital services; and,

6) Waive the size and weight restrictions for divisible loads on any vehicles
transporting emergency equipment, services, supplies, and agricultural commodities and citrus as
recommended by the Commissioner of Agriculture, allowing the establishment of alternate size

and weight restrictions for all such vehicles for the duration of the emergency. The DOT shall
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issue permits and such vehicles shall be subject to such special conditions as the DOT may endorse
on any such permits.

Nothing in this Executive Order shall be construed to allow any vehicle to exceed weight
limits posted for bridges and like structures, or relieve any vehicle or the carrier, owner, or driver
of any vehicle from compliance with any restrictions other than those specified in this Executive
Order, or from any statute, rule, order, or other legal requirement not specifically waived or
suspended herein or by supplemental order by the State Coordinating Officer;

F, The Executive Director of the Department of Highway Safety and Motor
Vehicles (DHSMV) may:

1) Suspend enforcement of the registration requirements pursuant to sections
316.545(4) and 320.0715, Florida Statutes, for commercial motor vehicles that enter Florida to
provide emergency services or supplies, to transport emergency equipment, supplies or personnel,
or to transport FEMA mobile homes or office style mobile homes into or from Florida;

2) Waive the hours of service requirements for such vehicles;

3) Suspend the enforcement of the licensing and registration requirements
under the International Fuel Tax Agreement (IFTA) pursuant to Chapter 207 Florida Statutes, and
the International Registration Plan (IRP) pursuant to section 320.0715, Florida Statutes, for motor
carriers or drivers operating commercial motor vehicles that are properly registered in other
jurisdictions and that are participating in emergency relief efforts through the transportation of
equipment and supplies or providing other assistance in the form of emergency services;

4) Waive fees for duplicate or replacement vessel registration certificates,
vessel title certificates, vehicle license plates, vehicle registration certificates, vehicle tag
certificates, vehicle title certificates, handicapped parking permits, replacement drivers’ licenses,

and replacement identification cards and to waive the additional fees for the late renewal of or
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application for such licenses, certificates, and documents due to the effects of adverse weather
conditions; and,

5) Defer administrative actions and waive fees imposed by law for the late
renewal or application for the above licenses, certificates, and documents, which were delayed due
to the effects of adverse weather conditions, including in counties wherein the DHSMV has closed
offices, or any office of the County Tax Collector that acts on behalf of the DHSMV to process
renewals has closed offices due to adverse weather conditions.

Recordkeeping and other applicable requirements for existing IFTA and IRP licensees and
registrants are not affected by this order. The DHSMV shall promptly notify the State
Coordinating Officer when the waiver is no longer necessary.

G. In accordance with section 465.0275, Florida Statutes, pharmacists may
dispense up to a 30-day emergency prescription refill of maintenance medication to persons who
reside in an area or county covered under this Executive Order and to emergency personnel who
have been activated by their state and local agency but who do not reside in an area or county
covered by this Executive Order.

H. All State agencies responsible for the use of State buildings and facilities may
close such buildings and facilities in those portions of the State affected by this emergency, to the
extent to meet this emergency. I direct each State agency to report the closure of any State building
or facility to the Secretary of the Department of Management Services. Under the authority
contained in section 252.36, Florida Statutes, I direct each County to report the closure of any
building or facility operated or maintained by the County or any political subdivision therein to
the Secretary of the Department of Management Services. Furthermore, I direct the Secretary of
the Department of Management Services to:

1) Maintain an accurate and up-to-date list of all such closures; and,
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2) Provide that list daily to the State Coordinating Officer.

I. All State agencies may abrogate the time requirements, notice requirements,
and deadlines for final action on applications for permits, licenses, rates, and other approvals under
any statutes or rules under which such application are deemed to be approved unless disapproved
in writing by specified deadlines, and all such time requirements that have not yet expired as of
the date of this Executive Order are suspended and tolled to the extent needed to meet this
emergency.

Section 5. All public facilities, including elementary and secondary schools, community
colleges, state universities, and other facilities owned or leased by the state, regional or local
governments that are suitable for use as public shelters shall be made available at the request of
the local emergency management agencies to ensure the proper reception and care of all evacuees.
Under the authority contained in section 252.36, Florida Statutes, I direct the Superintendent of
each public school district in the State of Florida to report the closure of any school within its
district to the Commissioner of the Florida Department of Education. Furthermore, I direct the
Commissioner of the Department of Education to:

A. Maintain an accurate and up-to-date list of all such closures; and,

B. Provide that list daily to the State Coordinating Officer.

Section 6. I find that the demands placed upon the funds appropriated to the agencies of
the State of Florida and to local agencies are unreasonably great and may be inadequate to pay the
costs of coping with this disaster. In accordance with section 252.37(2), Florida Statutes, I direct
that sufficient funds be made available, as needed, by transferring and expending moneys
appropriated for other purposes, moneys from unappropriated surplus funds, or from the Budget

Stabilization Fund.
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Section 7. All State agencies entering emergency final orders or other final actions in
response to this emergency shall advise the State Coordinating Officer contemporaneously or as
soon as practicable.

Section 8. Medical professionals and workers, social workers, and counselors with good
and valid professional licenses issued by states other than the State of Florida may render such
services in Florida during this emergency for persons affected by this emergency with the
condition that such services be rendered to such persons free of charge, and with the further
condition that such services be rendered under the auspices of the American Red Cross or the
Florida Department of Health.

Section 9. Pursuant to section 501.160, Florida Statutes, it is unlawful and a violation of
section 501.204 for a person to rent or sell or offer to rent or sell at an unconscionable price within
the area for which the state of emergency is declared, any essential commodity including, but not
limited to, supplies, services, provisions, or equipment that is necessary for consumption or use as
a direct result of the emergency.

Section 10. Under the authority contained in sections 252.36(5)(a), (g), and (m), Florida
Statutes, I direct that, for the purposes of this emergency, the term “essentials”, as defined by
section 252.359(2), Florida Statutes, shall be the same as and no more expansive than the term
“commodity”, as defined by section 501.160(1)(a), Florida Statutes (hereinafter referred to
collectively or alternatively as “essential commodities”). Accordingly, any person who delivers
essential commodities to a location in the area(s) declared to be under a state of emergency by this
Executive Order, and when necessary to ensure that those commodities are made available to the
public, may travel within evacuated areas and exceed curfews, provided the State Coordinating

Officer determines, after consultation with the appropriate Emergency Support Function(s), that:
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A. Law enforcement officials in the declared area(s) can provide adequate security
to protect the essential commodities from theft;

B. The weight of a delivery vehicle will not jeopardize the structural integrity of
any roadway or bridge located within the declared area;

C. Delivery vehicles will not negatively impact evacuation activities in the
declared area(s); and,

D. Delivery vehicles will not negatively impact any response or recovery activities
occurring within the declared area(s).

Afier consulting with the appropriate Emergency Support Function(s), and after consulting
with local officials, the State Coordinating Officer may dictate the routes of ingress, egress, and
movement within the declared area(s) that drivers must follow when delivering essential
commodities.

Provided he or she is actually delivering medications, any person authorized to deliver
medications under chapter 893, Florida Statutes, qualifies as a person delivering essential
commodities.

In order to qualify as a person delivering essential commodities under this section, a person
must be ‘in the process of delivering essential commodities only. If an individual is transporting
both essential and non-essential commodities, then this section shall not provide any authorization
for that individual to enter into or move within the declared area(s).

Section 11. Consistent with Executive Order 80-29, nothing in this Order shall prevent
local jurisdictions in any area not declared to be under a state of emergency by this Executive
Order from taking prompt and necessary action to save lives and protect the property of their

citizens, including the authority to compel and direct timely evacuation when necessary.

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Section 12. J authorize the Florida Housing Finance Corporation to distribute funds
pursuant to section 420.9073, Florida Statutes, to any county, municipality, or other political
subdivision located within the area(s) declared to be under a state of emergency by this executive
order. The authority of the Florida Housing Finance Corporation to distribute funds under this
state of emergency shall expire six months from the expiration of this Order, to include any
extensions of this Order.

Section 13. All actions taken by the Director of the Division of Emergency Management
with respect to this emergency before the issuance of this Executive Order are ratified. This

Executive Order shall expire sixty days from this date unless extended.

IN TESTIMONY WHEREOPF, I have hereunto ‘set

my hand and caused the Great Seal of the State of
Florida to be affixed, at Tallahassee, this 7th day of

October, 20

GOVERNOR
ATTEST:

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SECRETARY OF STATE

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